                  Case 3:15-cv-01577-VAB Document 1 Filed 10/29/15 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
 1                             FOR THE DISTRICT OF CONNECTICUT
 2
                                    )
 3   GAYLA FRANCIS,                 )
                                    )
 4             Plaintiff,           )
                                    )                    Case No.:
 5   v                              )
                                    )                    COMPLAINT AND DEMAND FOR
 6   PORTFOLIO RECOVERY ASSOCIATES, )                    JURY TRIAL
     LLC,                           )
 7                                  )                    (Unlawful Debt Collection Practices)
               Defendant.
 8

 9
                                               COMPLAINT
10
             GAYLA FRANCIS (“Plaintiff”), by and through her attorney, ANGELA K.
11
     TROCCOLI, ESQUIRE and KIMMEL & SILVERMAN, P.C., alleges the following against
12
     PORTFOLIO RECOVERY ASSOCIATES, LLC(“Defendant”):
13

14

15
                                             INTRODUCTION

16           1.      This is an action for damages brought by an individual consumer for Defendant's

17   violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

18                                    JURISDICTION AND VENUE

19           2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which states that
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     such actions may be brought and heard before “any appropriate United States district court
21
     without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this court
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     original jurisdiction of all civil actions arising under the laws of the United States.
23
             3.      Defendant conducts business in the State of Connecticut; therefore, personal
24
     jurisdiction is established.
25



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                                          PLAINTIFF’S COMPLAINT
                 Case 3:15-cv-01577-VAB Document 1 Filed 10/29/15 Page 2 of 5



            4.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2).
 1
                                                  PARTIES
 2

 3          5.      Plaintiff is a natural person residing in Bristol, Connecticut.

 4          6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

 5          7.      In the alternative, Plaintiff is a person granted a cause of action under the

 6   FDCPA. See 15 U.S.C. § 1692k(a) and Wenrich v. Cole, 2000 U.S. Dist. LEXIS 18687 (E.D.
 7   Pa. Dec. 22, 2000).
 8
            8.      Defendant is a corporation with its principal place of business located at 140
 9
     Corporate Boulevard in Norfolk, Virginia, 23502.
10
            9.      At all times material hereto, Defendant acted as a “debt collector” within the
11
     meaning of 15 U.S.C. § 1692(a)(6), and attempted to collect a “debt” as defined by 15 U.S.C. §
12
     1692(a)(5).
13
            10.     Defendant acted through its agents, employees, officers, members, directors,
14
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
15

16                                     FACTUAL ALLEGATIONS

17          11.     At all relevant times herein, Defendant was attempting to collect an alleged

18   consumer debt and contacted Plaintiff in its attempts to collect that debt.

19          12.     Plaintiff never incurred any debt in connection with a business or commercial
20   activities, and therefore, the debt if truly an obligation owed by her, could have only arisen from
21
     financial obligations primarily for personal, family, or household purposes.
22
            13.     Between April 2015 and July 2015, if not before, Defendant continuously and
23
     repeatedly called Plaintiff on her home telephone and cellular telephone.
24

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                                                      -2-

                                          PLAINTIFF’S COMPLAINT
                Case 3:15-cv-01577-VAB Document 1 Filed 10/29/15 Page 3 of 5



            14.       Upon information and belief, the debt was beyond the applicable statute of
 1
     limitations.
 2

 3          15.       Defendant was made aware that the calls were unwelcome and to stop.

 4          16.       Defendant placed calls to Plaintiff from a number including, but not limited to

 5   (731) 256-6444. The undersigned has confirmed this number belongs to Defendant.

 6          17.       Frustrated by the repeated calls and lack of information, Plaintiff terminated her
 7   home telephone service. Calls to the cell phone continued.
 8
            18.       Defendant threatened Plaintiff by stating if the debt remained unpaid the account
 9
     would be credit reported. To the best of Plaintiff’s knowledge, Defendant’s threat was not
10
     carried out, indicating that it had not intention to do so and/or lacked legal ability to do so.
11
            19.       Most recently, Defendant called Plaintiff on her cellular telephone within the
12
     month of July 2015.
13
            20.       Defendant’s actions as described herein were taken with the intent to abuse,
14
     harass, and deceive Plaintiff.
15

16
                                        COUNT I
17                  DEFENDANT VIOLATED §§ 1692d and 1692d(5) OF THE FDCPA

18          21.       A debt collector violates § 1692d by engaging in any conduct the natural

19   consequence of which is to harass, oppress, or abuse any person in connection with the
20   collection of a debt.
21
            22.       A debt collector violates § 1692d(5) by causing a telephone to ring or engaging
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     any person in telephone conversation repeatedly or continuously with intent to annoy, abuse, or
23
     harass any person at the called number.
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                                          PLAINTIFF’S COMPLAINT
                Case 3:15-cv-01577-VAB Document 1 Filed 10/29/15 Page 4 of 5



            23.     Defendant violated §§ 1692d and 1692d(5) when it placed repeated harassing
 1
     telephone calls to Plaintiff’s telephone number.
 2

 3
                                     COUNT II
 4                  DEFENDANT VIOLATED §§ 1692e and e(5) OF THE FDCPA

 5          24.     A debt collector violates § 1692e by using any false, deceptive, or misleading

 6   representation or means in connection with the collection of any debt.
 7          25.     A debt collector violates § 1692e(5) by making a threat of action it does not
 8
     intend to take or legally can’t take.
 9
            26.     Here, Defendant violated §§ 1692e and 1692e(5) of the FDCPA by threatening
10
     to report the debt on Plaintiff’s credit report when it had no intention of doing so.
11

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            WHEREFORE, Plaintiff, GAYLA FRANCIS, respectfully prays for judgment as
14
     follows:
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16
                     a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
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                     b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
18
                         15 U.S.C. § 1692k(a)(2)(A);
19
                     c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
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                         costs, pursuant to 15 U.S.C. § 1693k(a)(3);
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                     d. Any other relief deemed fair and proper by this Honorable Court.
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                                             PLAINTIFF’S COMPLAINT
                  Case 3:15-cv-01577-VAB Document 1 Filed 10/29/15 Page 5 of 5




 1
                                  DEMAND FOR JURY TRIAL
 2

 3           PLEASE TAKE NOTICE that Plaintiff, GAYLA FRANCIS, demands a jury trial in

 4   this case.

 5

 6

 7

 8
                                             RESPECTFULLY SUBMITTED,
 9
                                             GAYLA FRANCIS
10                                           By her Attorney,

11                                           /s/ Angela K. Troccoli
                                             Angela K. Troccoli, Esquire, Id# ct28597
12                                           Kimmel & Silverman, PC
                                             The New England Office
13                                           136 Main Street, Suite 301
                                             Danielson, CT 06239
14
                                             (860) 866-4380- direct dial
                                             (860) 263-0919- facsimile
15
                                             atroccoli@creditlaw.com
16

17   Dated: October 29, 2015

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                                     PLAINTIFF’S COMPLAINT
